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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                  )
In re:                                                            )   Chapter 11
                                                                  )
                                                          1
ENERGY FUTURE HOLDINGS CORP., et al.,                             )   Case No. 14-10979 (CSS)
                                                                  )
                 Debtors.                                         )   (Jointly Administered)
                                                                  )
                                                                  )   Re: D.I. _______
                                                                  )

    ORDER DETERMINING APPLICABILITY OF THE AUTOMATIC STAY TO NON-
     BANKRUPTCY LITIGATION INVOLVING CERTAIN OF THE DEBTORS AND
             FIXING HEARING DATE AND OBJECTION DEADLINE

         Upon consideration of the motion (the “Motion”) of Sierra Club for entry of an order

determining the applicability of the automatic stay imposed under section 362(a)(1) of the
                     2
Bankruptcy Code with respect to litigation currently pending in both the District Court (titled

Sierra Club v. Energy Future Holdings Corp. and Luminant Generation Company LLC, Case no.

6:12-cv-00108-WSS (W.D. Tex.)); and in the Fifth Circuit (Case No. 14-50400), involving

Sierra Club as Plaintiff and certain of the Debtors as Defendants; and it appearing that sufficient

notice of the Motion has been given; and it appearing that the relief requested by the Motion is

appropriate; and the Court finding that the automatic stay applies to all proceedings involved in

the Clean Air Litigation, and good cause have been shown, it is hereby




1
          The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The location of
the debtors’ services address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large number of debtors in these
chapter 11 cases, for which joint administration has been granted, a complete list of the debtors and the last four
digits of their federal tax identification numbers is not provided herein. A complete list of such information may be
obtained on the website of the Debtors’ claim and noticing agent at http://www.efhcaseinfo.com.
2
         All capitalized terms not herein defined shall have the meanings ascribed to them in the Motion.
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          ORDERED that all proceedings in the Clean Air Litigation, including those related to the

Fee Motion currently pending in the District Court are stayed until such time that the automatic

stay is lifted as to all proceedings involved in the Clean Air Litigation; and it is further

          ORDERED that immediately after the entry of this Order, counsel for the Defendants

shall notify the District Court of the entry of this Order, and it is further

          ORDERED that the Court shall retain jurisdiction to hear and determine all matters

arising from or related to the implementation of this Order.



Dated:                        , 2014
          Wilmington, Delaware
                                                Honorable Christopher S. Sontchi
                                                United States Bankruptcy Court Judge




4838-5767-0428, v. 1
